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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

PagelD #: 1

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Sections 922(a)(1)(A), 922(g)(1),
933(a)(1), (a)(3), 924(a)1)(D)

EASTERN DIVISION
UNITED STATES OF AMERICA, ) INDICTMENT
)
Plaintiff, )
)
ve ) CASE NO.
) Title 18, United States Code,
AARON STREZZE, )
TEIGHLOR BURNS, )
) and 924(a)(8)
Defendants. )

JUDGE NUGENT

COUNT 1

(Trafficking in Firearms Conspiracy, 18 U.S.C. § 933(a)(1) and (a)(3))

The Grand Jury charges:

1. From on or about February 12, 2025, to on or about February 28, 2025, in the

Northern District of Ohio, Eastern Division, Defendants AARON STREZZE and TEIGHLOR

BURNS, along with others known and unknown to the grand jury, did ship, transport, transfer,

cause to be transported, or otherwise dispose of firearms, to wit:

DATE FIREARM PRICE
2/12/2025 | Glock, model 23, .40 caliber pistol, serial number LYL932 $600
2/12/2025 | Springfield, Model XDS, 9mm caliber pistol, serial number BY371566 _| $450
2/19/2025 | Russian, model SKS, 763 caliber rifle, serial number 9901068 and a $1200
Radical Firearm’s, model RF-15 .223 caliber AR style pistol, serial
number 2-082214
2/19/2025 | Glock, model 19, 9mm pistol, serial number BURES92 $700
2/28/2025 | Smith & Wesson, model M&P-15, .223 caliber rifle, serial number $1800
TS81293 and a Century Arms International, model M70AB2,
7.62x39mm rifle, serial number M70AB19458
2/28/2025 | Glock, model 45, 9mm caliber pistol, serial number AHLB303 $850

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to a Recipient in or otherwise affecting commerce, knowing or having reasonable cause to
believe that the use, carrying, or possession of the firearm by the Recipient would constitute a
felony, or did attempt or conspire to do so, in violation of Title 18, United States Code, Section
933(a)(1).
COUNT 2
(Engaging in the Business of Importing, Manufacturing, or Dealing in Firearms without a
Federal Firearms License, 18 U.S.C. §§ 922(a)(1)(A) and 924(a)(1)(D))
The Grand Jury further charges:
2. From on or about February 12, 2025, to on or about February 28, 2025, in the

Northern District of Ohio, Eastern Division, Defendant AARON STREZZE, not being a licensed

importer, licensed manufacturer, or licensed dealer, did willfully engage in the business of

importing, manufacturing, or dealing in firearms, those being:

DATE FIREARM PRICE
2/12/2025 | Glock, model 23, .40 caliber pistol, serial number LYL932 $600
2/12/2025 | Springfield, Model XDS, 9mm caliber pistol, serial number BY371566 _| $450
2/19/2025 | Russian, model SKS, 763 caliber rifle, serial number 9901068 and a $1200

Radical Firearm’s, model RF-15 .223 caliber AR style pistol, serial
number 2-082214

2/19/2025 | Glock, model 19, 9mm pistol, serial number BURE592 $700
2/28/2025 | Smith & Wesson, model M&P-15, .223 caliber rifle, serial number $1800
TS81293 and a Century Arms International, model M70AB2,
7.62x39mm rifle, serial number M70AB19458

2/28/2025 | Glock, model 45, 9mm caliber pistol, serial number AHLB303 $850

all having been shipped and transported in interstate commerce, in violation of Title 18, United

States Code, Sections 922(a)(1)(A) and 924(a)(1)(D).
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COUNT 3
(Felon in Possession of a Firearm or Ammunition, 18 U.S.C. §§ 922(g)(1) and 924(a)(8))

The Grand Jury further charges:

3, On or about February 19, 2025, to on or about February 28, 2025, in the Northern
District of Ohio, Eastern Division, TEIGHLOR BURNS, having been previously convicted of a
crime punishable by imprisonment for a term exceeding one year, that being: Drug Trafficking
and Possession of Cocaine, in Case Number 2022-CR-62, In the Erie County Common Pleas
Court, on or about August 23, 2023 did knowingly possess in and affecting interstate commerce
a firearm, to wit: a Century Arms International, model M70AB2, 7.62x39mm rifle, serial number

M70AB19458, in violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(8).

FORFEITURE

The Grand Jury further charges:

4, For the purpose of alleging forfeiture pursuant to Title 18, United States Code,
Section 924(d)(1) and Title 28, United States Code, Section 2461(c), the allegations of Count 1
through 5 are incorporated herein by reference. As a result of the foregoing offenses, Defendants
AARON STREZZE and TEIGHLOR BURNS, shall forfeit all firearms and ammunition
involved in or used in the commission of the violations charged in Counts | through 3, including,
but not limited to, the following:

a. Glock, model 23, .40 caliber pistol, serial number LYL932;

b. Springfield, Model XDS, 9mm caliber pistol, serial number BY371566;

C. Russian, model SKS, 763 caliber rifle, serial number 9901068 and a Radical
Firearm’s, model RF-15 .223 caliber AR style pistol, serial number 2-082214;

d. Glock, model 19, 9mm pistol, serial number BURE592;
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Smith & Wesson, model M&P-15, .223 caliber rifle, serial number TS81293 and

a Century Arms International, model M70AB2, 7.62x39mm rifle, serial number
M70AB19458;

Glock, model 45, 9mm caliber pistol, serial number AHLB303; and

Century Arms International, model M70AB2, 7.62x39mm rifle, serial number
M70AB19458.

A TRUE BILL.

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002.
